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Exhibit 3
Case 1:21-cv-00309-ELH Document 31-3 Filed 08/16/21 Page 2 of 9

STATE OF WYOMING * SECRETARY OF STATE
EDWARD A. BUCHANAN

BUSINESS DIVISION
2020 Carey Avenue, Cheyenne, WY 82002-0020
Phone 307-777-7311
Website: http://soswy.state.wy.us - Email: business@wyo.gov

i

Filing Information

A Please note that this form CANNOT be submitted in place of your Annual Report.

Name Smart Retail, Inc.
Filing ID 2019-000868971
Type Profit Corporation Status Active

 

General Information

Old Name Sub Status‘ Current
Fictitious Name Standing - Tax Good
Standing - RA Good
Sub Type Standing - Other Good
Formed in Wyoming Filing Date 08/02/2019 2:39 PM
Term of Duration Perpetual Delayed Effective Date
Inactive Date

Share Information

 

 

Common Shares. 1,000 Preferred Shares 0 Additional Stock N
Par Value 0.0000 Par Value 0.0000

Principal Address Mailing Address

222 Severn Avenue 222 Severn Avenue

Building 14 Building 14

Suite 200 Suite 200

Annapolis, MD 21403 Annapolis, MD 21403

Registered Agent Address

C T Corporation System
1908 Thomes Ave
Cheyenne, WY 82001

 

Parties

Type Name / Organization / Address

Incorporator John White 222 Severn Avenue, Building 14, Suite 200, Annapolis, Maryland 21403
Notes

Date Recorded By Note

 

Annual Report History
Page 1 of 2
Case 1:21-cv-00309-ELH Document 31-3 Filed 08/16/21 Page 3 of 9

Filing Information

A Please note that this form CANNOT be submitted in place of your Annual Report.

 

 

 

 

Name Smart Retail, Inc.

Filing ID 2019-000868971

Type Profit Corporation Status Active
Num Status Date Year Tax

Amendment History

ID Description Date

See Filing ID Initial Filing 08/02/2019

Page 2 of 2
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8/15/2019

Business Center

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Case 1:21-cv-00309-EL Hbusikge Grmentad agmibei eceG/ a6 iad. Page 4 of 9

Online Services Search

 

 

Name

Smart Retail, Inc.

Filing ID

2019-000868971

Type

Profit Corporation - Domestic

Standing - Tax
Good
Standing - RA
Good

Standing - Other

Good

Mailing Address

222 Severn Avenue
Building 14

Suite 200

Annapolis, MD 21403
USA

Additional Details

 

 

Registered Agent:

C T Corporation System
1908 Thomes Ave
Cheyenne, WY 82001 USA

 

Status
Active
Sub Status
Current

Initial Filing
08/02/2019

Term of Duration
Perpetual
Formed In

Wyoming

Principal Office

222 Severn Avenue
Building 14

Suite 200

Annapolis, MD 21403
USA

Latest AR/¥ear
AR Exempt

License Tax Paid

Conimon Shares
1,000

Common Par Value

Preferred Shares

 

Fictitious Name

https://wyobiz.wy.gov/business/Filing Detalls.aspx?eF Num=2250970170170592011 50229240068194219100078203052

RETURN TO YOUR SEARCH FILE YOUR ANNUAL REPORT
Smart Retail. ne.
This detail reflects the current data for the filing in the system. Print

 

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8/15/2019 Case 1:21-cv-00309-EL H8ushess Entite Petal 1 Wgom|rg| Setrelaty O14 =Page 5 of 9

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Preferred Par Value

Initial Filing - See Filing ID Date: 08/02/2019
Public Notes

 

 

 

 

John White (Incorporator) Organization:
Address: 222 Severn Avenue, Building 14, Suite 200, Annapolis, Maryland 21403

 

History eC

No Public Notes Found... _ cre are ee
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Y G 2020 Carey Avenue WY Secretary of State

‘ Suite 700 FILED: Aug 22019 2:39PM
Cheyenne, WY 82002-0020 Original ID: 2019-000868971
Secretary of State Ph. 307-777-7311

 

Profit Corporation
Articles of Incorporation

I. The name of the corporation is:
Smart Retail, Inc.

ll. The name and physical address of the registered agent of the corporation is:

C T Corporation System
1908 Thomes Ave
Cheyenne, WY 82001

Ii]. The mailing address of the corporation is:
222 Severn Avenue
Building 14
Suite 200
Annapolis, MD 21403

IV. The principal office address of the corporation is:
222 Severn Avenue
Building 14
Suite 200
Annapolis, MD 21403

V. The number, par value, and class of shares the corporation will have the authority to issue are:
Number of Common Shares: 1,000 Common Par Value: $0.0000
Number of Preferred Shares: 0 Preferred Par Value: $0.0000

VI. The name and address of each incorporator is as follows:
John White
222 Severn Avenue, Building 14, Suite 200, Annapolis, Maryland 21403

 

Signature: Ryan Beard Date: 08/02/2019
Print Name: Ryan Beard

Title: Attorney

Email: beard@kaganstern.com

Daytime Phone #: (410) 216-7900

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? Wyoming Secretary of State

Wo i 2020 Carey Avenue
. Suite 700

Cheyenne, WY 82002-0020

Secretary of State Ph. 307-777-7311

 

| am the person whose signature appears on the filing; that | am authorized to file these documents on behalf of the
business entity to which they pertain; and that the information | am submitting is true and correct to the best of my

knowledge.

| am filing in accordance with the provisions of the Wyoming Business Corporation Act, (W.S. 17-16-101 through 17-
16-1804) and Registered Offices and Agents Act (W.S. 17-28-101 through 17-28-1171).

| understand that the information submitted electronically by me will be used to generate Articles of Incorporation that
will be filed with the Wyoming Secretary of State.

| intend and agree that the electronic submission of the information set forth herein constitutes my signature for this
filing.

| have conducted the appropriate name searches to ensure compliance with W.S. 17-16-401.

| affirm, under penalty of perjury, that | have received actual, express permission from each of the following
incorporators to add them to this business filing: John White

Notice Regarding False Filings: Filing a false document could result in criminal penalty and
prosecution pursuant to W.S. 6-5-308.

 

W.S. 6-5-308. Penalty for filing false document.

(a) A person commits a felony punishable by imprisonment for not more than two (2) years, a fine
of not more than two thousand dollars ($2,000.00), or both, if he files with the secretary of state

and willfully or knowingly:
(i) Falsifies, conceals or covers up by any trick, scheme or device a material fact;
(ii) Makes any materially false, fictitious or fraudulent statement or representation; or

(iii) Makes or uses any false writing or document knowing the same to contain any materially
false, fictitious or fraudulent statement or entry.

 

 

 

i acknowledge having read W.S. 6-5-308.

Filer is: An Individual (1 An Organization

Filer Information:
By submitting this form | agree and accept this electronic filing as legal submission of my Articles of

Incorporation.
Date: 08/02/2019

 

Signature: Ryan Beard
Print Name: Ryan Beard

Title: Attorney

Email: beard@kaganstern.com

Daytime Phone #: (410) 216-7900

Page 2 of 4
Case 1:21-cv-00309-ELH Document 31-3 Filed 08/16/21 wyantng etary of State

Wo Ne 2020 Carey Avenue
- Suite 700
Cheyenne, WY 82002-0020
i i Secretary of State Ph. 307-777-7311

 

Consent to Appointment by Registered Agent

C T Corporation System, whose registered office is located at 1908 Thomes Ave,
Cheyenne, WY 82001, voluntarily consented to serve as the registered agent for Smart Retail, Inc.
and has certified they are in compliance with the requirements of W.S. 17-28-101 through W.S. 17-

28-111.

| have obtained a signed and dated statement by the registered agent in which they
voluntarily consent to appointment for this entity.

Date: 08/02/2019

 

Signature: Ryan Beard
Print Name: Ryan Beard
: | Title: Attorney
C Email: beard@kaganstern.com

Daytime Phone #: (410) 216-7900

Page 3 of 4
STATE OF WYOMING
Office of the Secretary of State

|, EDWARD A. BUCHANAN, Secretary of State of the State of Wyoming, do hereby certify
that the filing requirements for the issuance of this certificate have been fulfilled.

CERTIFICATE OF INCORPORATION

Smart Retail, Inc.

| have affixed hereto the Great Seal of the State of Wyoming and duly executed this official
certificate at Cheyenne, Wyoming on this 2nd day of August, 2019 at 2:39 PM.

 

NL

Remainder intentionally left blank.

Secretary of State

Filed Online By:

 

Ryan Beard

Filed Date: 08/02/2019

on 08/02/2019

 

 

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